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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NORTH DAKOTA

John Bray,                                  )
                                            )       ORDER FOR MID-DISCOVERY
              Plaintiff,                    )       STATUS CONFERENCE
                                            )
       v.                                   )
                                            )
Charles Ninneman and Colene Ninneman )
d/b/aImpact Fireworks, and STL, Inc., d/b/a )
Generous Jerry’s Fireworks,                 )
                                            )       Case No. 1:24-cv-221
              Defendants.                   )


         IT IS ORDERED:

         A mid-discovery status conference will be held on August 8, 2025, at 9:00 AM before the

magistrate judge by telephone. To participate in the conference, the parties shall call (571) 353-

2301 and enter “Call ID” 292466149. The conference may be recorded for the convenience of the

court.

         Dated this 21st day of February, 2025.

                                             /s/ Clare R. Hochhalter
                                             Clare R. Hochhalter, Magistrate Judge
                                             United States District Court
